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                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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     DALE AND LETA ANDERSON,
 9   HUSBAND AND WIFE; AND AS
     TRUSTEES FOR THE ANDERSON                         Case No. 3:20-CV-05119-DGE
10   FAMILY TRUST,
                                                       [PROPOSED] ORDER GRANTING
11                              Plaintiffs,            MOTION FOR STATUTORY
             v.                                        DAMAGES, PREJUDGMENT
12                                                     INTEREST, REASONABLE
     STATE FARM FIRE AND CASUALTY                      ATTORNEY FEES, AND
13   COMPANY,                                          NONTAXABLE COSTS
14                              Defendant.
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16           This matter came before the on Plaintiffs Dale and Leta Anderson’s motion (the

17   “Motion”) for an award of statutory treble damages against Defendant State Farm Fire

18   and Casualty Company (“State Farm”) under Washington’s Consumer Protection Act

19   (CPA); (ii) to amend the judgment to include prejudgment interest on the jury’s award

20   of liquidated damages; and (iii) for an award of reasonable attorney fees and nontaxable

21   litigation costs under the CPA and the Washington Supreme Court’s decision in

22   Olympic Steamship Company v. Centennial Insurance Company, 117 Wn.2d 37, 811

23   P.2d 673 (1991) and its progeny. The Court considered the Motion, State Farm’s

24   response, Plaintiffs’ reply, and the other papers and pleadings in the Court’s file, as well

25   as the relevant legal authorities, and is fully informed.

26   //

     [PROPOSED] ORDER GRANTING MOTION FOR STATUTORY
     DAMAGES, PREJUDGMENT INTEREST, ATTORNEY FEES,
     AND NONTAXABLE COSTS - 1
                                                                          805 Broadway Street, Suite 1000
     ANDD02-000037- 6787674.2
                                                                          PO Box 1086
                                                                          Vancouver, WA 98666
                                                                          T: 360-696-3312 • F: 360-696-2122
 1   Now, therefore, it is hereby ORDERED, ADJUDGED, AND DECREED:

 2           1. The Motion is GRANTED.

 3           2. The Judgment entered in this matter is hereby AMENDED to include:

 4                    a. An award $25,000.00 in treble damages under Washington’s

 5                         Consumer Protection Act, Washington Revised Code § 19.86.090;

 6                    b. Prejudgment interest on the jury’s award of damages in the amount

 7                         of $572,750.97; and

 8                    c. Reasonable attorney fees and non-taxable litigation costs, in the

 9                         amount of $                        , comprised of:

10                              i. $371,958.00 in reasonable attorney fees and $88,935.06 in

11                                 non-taxable litigation costs, as of the filing of the Motion; and

12                              ii. $                  in reasonable attorney fees and litigation

13                                 costs incurred after filing of the Motion.

14           3. The Clerk shall issue an Amended Judgment including the amounts set forth

15                above as well as all taxable costs set forth in Plaintiffs’ Bill of Costs.

16           IT IS SO ORDERED this ____ day of June 2024.

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18
                                        Chief United States District Judge David G. Estudillo
19
     Presented by:
20   LANDERHOLM, P.S.
21
     /s/ Phillip Haberthur
22   JOSEPH VANCE, WSBA #25531
     PHILLIP J. HABERTHUR, WSBA #38038
23   JASON M. ROSENBAUM, WSBA #61903
     Of Attorneys for Plaintiffs Dale and Leta Anderson
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     [PROPOSED] ORDER GRANTING MOTION FOR STATUTORY
     DAMAGES, PREJUDGMENT INTEREST, ATTORNEY FEES,
     AND NONTAXABLE COSTS - 2
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 1                              CERTIFICATE OF SERVICE

 2           I certify that I electronically filed the foregoing [PROPOSED] ORDER

 3   GRANTING MOTION FOR STATUTORY DAMAGES, PREJUDGMENT

 4   INTEREST, REASONABLE ATTORNEY FEES, AND NONTAXABLE COSTS

 5   was served electronically via this Court’s CM/ECF case management system, upon all

 6   parties registered for such service for the above-numbered and above-captioned case, on

 7   May 30, 2024.

 8                                       /s/ Phillip Haberthur
                                         PHILLIP J. HABERTHUR, WSBA #38038
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     [PROPOSED] ORDER GRANTING MOTION FOR STATUTORY
     DAMAGES, PREJUDGMENT INTEREST, ATTORNEY FEES,
     AND NONTAXABLE COSTS - 3
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